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AO 88B (Rev 02l14) Subpoena to Produce Documents, Information" or Objects or to Permit Inspection ofPremises in a Civil Action


                                       UNrrBo SrarBs Drsrnrcr CoURT
                                                                         for the
                                                         Western District of Tennessee

                   Row Vaughn Wells, et al
                                                                             )
                              Plaintiff                                      )
                                                                             )        Civil ActionNo. 2:23-CV-02224
                  The City of Memphis, et al                                 )
                                                                             )
                             Defendant                                       )

                       suBPoENA TO PRODUCE DOCUMENTS' INFORMATION' OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CTVIL ACTION

To         Shelby County District Attorney's Office, Attn: Steve Mulroy, 201 Poplar Ave, 1 1th Floor, Memphis, TN 38103

                                                      (Name of person to whom this subpoena is directed)


      d produafon: YOIJ ARE COMMANDED to produce at the time, date, and place set forth below the following
                                                                                                                                              the
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of
material:
            See Exhibit A.


  Place: g2ksl Donelson, Attn: Bruce McMullen                                          Date and Time:
         165 Madison Ave, Suite 2000                                                                        0512812024 5:00 pm
         Memph is, TN 38103

       J Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises,land, or
                                                                                                                                              party
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
may inspect, -easure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time




        The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences ofnot doing so.

Date:

                                   CLERKOFCOURT
                                                                                           OR

                                           Signature of Clerk or Deputy Clerk


                                                                                                                                 the City of Memphis,
The name, address, e-mail address, and telephone number of the attomey representing (name of party)




                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspectionof premises before trial, anotice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed' Fed. R. Civ. P. a5@)(D.
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                                                                                                                               (Page 2)
AO 88B (Rev 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection ofPremises in a Civil Action

civil Action 11o. 2:23-CV-02224

                                                    PROOF OF SERVICE
                     (This section should not beJited with the court unless fequired by Fed R. Civ. P. 45.)

            I received this subpoenafot (name of inditidual and tille' if anv)
on (date)


            il I served the subpoena by delivering a copy to the named person as follows:

                                                                                          on (date)                                  ;or

            il I retumed the subpoena unexecuted because:

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of

            $


My fees are $                                     for travel and $                             for services, for a total of$               0.00




            I declare under penalty of perjury that this information is true.


Date
                                                                                                  Server's signature



                                                                                                Printed name and title




                                                                                                   Server's address


Additional information regarding attempted service, etc.
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AO 88B (Rev 02114) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection ofPremises in a Civil Action(Page 3)

                               Federal Rule of Civil Procedure 45 (c)o (d), (e), and (g) (Effective l2llll3\
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert's opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert's
  (l) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
-  (A) within 100 miles of where the person resides, is employed, or               described in Rule a5(dX3XB), the court may, instead ofquashing or
regularly transacts business in person; or                                         modifing a subpoena, order appearance or production under specified
   (B) wittrin the state where the person resides, is employed, or regularly       conditions ifthe serving party:
transacts business in person, ifthe person                                              (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party's officer; or                                      otherwise met without undue hardship; and
      (ii) is cbmmanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
 expense.
                                                                                   (e) Duties in Responding to a Subpoena.
   (2\ For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored- information, or              (l) Producing Documents or Electronically Storedlnformation. These
 tangi6G things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
 employed, or regularly transacts business in person; and                          information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course ofbusiness or
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                       must brganize and label them to correspond to the categories in the demand.
                                                                                      (B) Formfor Producing Electronically Stored Information No,t Specifi,ed.
   (l) Avoiding lJndue Burden or Expense; Sanctions. .Apatty or.attomey            Ifa subpoena does not specifr a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps         information, the person iesponding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the              which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. fhe court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form. The
 enforce this duty and impose an appropriate sanction-which may include            person responding need not produce the same electronically stored
 lost earnings and reasonable attomey's fees-on a party or attomey who             information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information The person
                                                                                   responding need not provide discovery ofelectronically stored information
  (2)   Command to Ptoduce Mstefiflls ot Permit Inspection,                        from sourCes that the person identifies as not reasonably accessible because
   '
     (A'1 Appearance Not Required. A person commanded to produce                   ofundue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to           ordeq the person responding must show that the information is not
 permit the inspection ofpremises, need not appear in person at the place of       reasonably accessible because ofundue burden or cost. Ifthat showin-gis
 production orinspection unless also commanded to appear for a deposition,         made, thecourt may nonetheless order discovery from such sources ifthe
 hearing, or trial.                                                                requesting party shows good cause, considering the limitations ofRule
        (B\bbiections. A person commanded to produce documents or-tangible -        26(b)(2)(C). The court may speciff conditions for the discovery.
 things or to permit inspection may serve on the party or attomey designated
 in thl subpoena a written objection to inspecting, copying, testing, or            (2\
                                                                                     '
                                                                                        Claiming Privilege or Prctection,
 sampling any or all of the materials or to inspecting the premises-or to             (A\ Inforiation Wirhheld. A person withholding subpoenaed information
 producing eiectronically stored information in the form or forms re-qu^ested.      under a claim that it is privileged or subject to protection as trial-preparation
 ihe objection must be served before the earlier of the time specified for          material must:
 compliance or 14 days after the subpoena is served. Ifan objection is made,             (i) expressly make the claim; and
  the following rules apply:                                                             (ii) describe the nature of the withheld documents, communications, or
        (i) At any time, on notice to the commanded person, the serving party       tangible things in a manner that, without revealing information itself
  may move the court for the district where compliance is required for an           privileged or protected, will enable the parties to assess the claim.
  order compelling production or inspection.                                          (B) Information Produced. Ifinformation produced in response to a
        (ii) These aiti may be required only as directed in the order, and the      subpoena is subject to a claim ofprivilege or ofprotection as
- order'must protect a person who is neither a party nor a party's officer fiom     triai-preparation material, the person making the claim may notifr any party
  signifi cant expense resulting from compliance.                                   that riceived the information of the claim and the basis for it. After being
                                                                                    notified, a party must promptly retum, sequester, or destroy the specified
  (3\ Quashing or Modifying a Sabpoena                                              information and any copies it has; must not use or disclose the information
   (Al llhen Required. Ontimely motion, the court for the district where            until the claim is resolved; must take reasonable steps to retriove the
 compliance is required must quash or modi$ a subpoena that:                        infondation ifthe party disclosed it before being notified; and may promptly
      (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
      (ii) requires a person to comply beyond the geographical limits               compliance is required for d determination of the claim. The person who
 specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
    - (iii) requires disclosure ofprivileged or other protected matter, ifno        resolved.
 exception or waiver applies; or
      (iv) subjects a person to undue burden.                                       (g) Contempt.
   (B\ lVhen Permitted. To protect a person subject to or affected by a             ihe court foi the district where compliance is required-and also, after a
 subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court-may hold in contempt a person
 motion, quash or modiff the subpoena ifit requires:                                who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential researcl!                subpoena or an order related to it.
 development, or commercial information; or




                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                 EXHIBIT A to Subnoena to the Shelbv Countv District Attornev's Office

                                INSTRUCTIONS AI\D DEFINITIONS

            l.       The term "Document" means as used herein, is intended to have the broadest

  permissible meaning under the Federal Rules of Civil Procedure.

            2.       The terms "Communicate" and "Communication" mean and include any

   documents or oral or written exchange of words, thoughts, or ideas to another person(s) whether

  person-to-person, in a group, by telephone, by letter, by text messages, by social media, by e-mail

   or by any other process, electric, electronic, computer, or otherwise, using means of
   communications such as mobile phones or personal devices purchased or controlled by you.
                     .OYou,' or .OYour,, means the SHELBY COUNTY DISTRICT ATTORNEY,S
            3.
   OFFICE and all parties acting on its behalf including but not limited to, attomeys, and their

   associates and employees, investigators, agents, employees, representatives, or others who are in

   possession of information or documents obtained for or on behalf of the SHELBY COUNTY

   DISTRICT ATTORNEY' S OFFICE.

            4.       "Plaintiff'means Row Vaughn Wells, individually and as administratix ad litem

   of the estate of Tyre Deandre Nichols. The term "Plaintiff includes all family members of

   Plaintiff including but not limited to Row Vaughn Wells, Rodney Wells, Steven Nichols, Lenge

   Dupree, Keyana Dixon, and Michael Cutrer.

            5.       The term "Plaintiffs Counsel" includes any attorney representing Plaintiff at any

   time including but not limited to Antonio Romanucci, Bryce Hensley, Kareem Ali, Bhavani K.

   Raveendran, Sarah M. Raisch, Javier Rodriguez, Jr., Sam Harton, David L. Mendelson, Benjamin

   Wachtel, Ben Crump, Chris O'Neal, Brooke Cluse, LaShonda Council Rogers, and Earnestine

   Hunt Dorse.


                                                     L


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             6.     The term "DOJ" means the United States Department of Justice Civil Rights

  Division, and includes any person representing the Department of Justice including but not limited

  to Vanita Gupta, Kristin Clarke, Suraj Kumar, Maureen Johnston, Emily Keller, Haley Van Erem,

  Ranit Patel, and Syeda'oMehveen" Riaz.

             7.     In responding to the Subpoena, You are requested to consult Your records and any

   other documents in your possession, custody, and control, as well as any other source of

   information that may be available to You, and to furnish all information thus available to You,

   regardless of whether this information is possessed directly by You or by Your partners, directors,

   officers, attorneyso agents, accountants, employees, representatives, investigators, or experts.

             8.     Unless otherwise specified, the relevant time period for the requests is from January

   7   ,2023 to the present.

                                      DOCUMENTS REOUESTEI)

             1.      Any and all Communications between You and Plaintiff and/or Plaintiff s

   Counsel.

             Z.      Any and all Documents and things exchanged between You and Plaintiff and/or

   Plaintiffls Counsel.

             3.      Any all voicemails, or other audio recordings, exchanged between You and

   Plaintiff and/or Plaintiff s Counsel.

             4.      Any and all Documents evidencing any authority You claim You have to

   participate in the civil litigation of Wells, et al. v. The City of Memphis, et al.

             5.      Any and all Communications between You and the DOJ regarding Tyre Nichols

   and the incident occuring the night of January 7 ,2023 involving Tyre Nichols.




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           6.       Any and all Communications between You and the DOJ regarding the policies,

   rules, procedures, and practices of the Memphis Police Department and Memphis Fire Department'

           7.       Any and all Documents and things exchanged between You and DOJ regarding

   Tyre Nichols and the incident occuming the night of January 7,2023 involving Tyre Nichols.

            8.      Any and all Documents and things exchanged between You and DOJ regarding

   the policies, rules, procedures, and practices of the Memphis Police Department andlor Memphis

   Fire Department.

            g.      Any and all Documents evidencing any authority You claim You have to initiate

   an investigation into the policies, procedures, and practices of the Memphis Police Department

   andlor the Memphis Fire Department.

            10. Any and all Communications between You and Preston Hemphill andlot
   attorneys for Preston HemPhill.

            I   1. Any and all Documents and things exchanged between You and Preston
   Hemphill and/or attorneys for Preston Hemphitl. This request includes any audio and/or video

   recordings of any interviews You had with Mr. Hemphill or his attorneys as well as any and all

   notes from any meetings with Mr. Hemphill or his attorneys.

            12. Any and all Communications between You and Dewayne Smith and/or attorneys
   for Dewayne Smith.

            13. Any and all Documents and things exchanged between You and Dewayne Smith
   and/or attorneys for Dewayne Smith. This request includes any audio andlot video recordings of

   any interviews You had with Mr. Smith or his attorneys as well as any and all notes from any

   meetings with Mr. Smith or his attorneys.




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                14. Any and all Documents in Your possession related to Your investigation of the
   Memphis Police Department and/or Memphis Fire Department.

                15. All Documents evidencing Your new policy of transparency that requires You to
   provide investigative materials to civil litigants prior to the conclusion of all related criminal

   prosecutions that are at issue in the civil litigation.




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